                         Case 1:15-cr-00138-SPW Document 53 Filed 11/17/16 Page 1 of 6
AO 2458 (Rev. 10115) Judgment in a Criminal Case
                     Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                                    District of Montana
                                                                             )
               UNITED STATES OF AMERICA                                      )        JUDGMENT IN A CRIMINAL CASE
                                   v.                                        )
                        Cheryl Lavonn Hilario                                )
                                                                                      Case Number: CR 15-138-BLG-SPW-02
                                                                             )
                                                                             )        USM Number: 55310-065
                                                                             )
                                                                             )         Brian Fay (appointed)
                                                                             )        Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)           S -------
                                        1-
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense

'jifg~l,'~1:$2~,c~~li~j;~~~iEE 1 /1l•fiflm~~i~a~~·Jp:~s~~~~s'~1~;1~1~m~:,1~,1~~$1,r1~~~I''
 841(b)(1 )(B)



       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
D The defendant has been found not !,'llilty on count(s)
                                                                                  '
                                                                            - - - - - of this judgment. The sentence is imposed pursuant to



Ill Count(s)      Indictment                               Ill is     D are dismissed on the motion of the United States.
                -------·-----~



         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defeni:lant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            11/16/2016
                                                                           Date of    position of Judgment




                                                                             gnature of Judge




                                        NOV 1 ~ 2016                        Susan P. Watters, U.S. District Court Judge
                                                                           Natne and Title of Judge
                                   Cler1<, U.S. Distcict Court
                                      District Of Montana
                                             Billings                       11/16/2016
                                                                           Date
                       Case 1:15-cr-00138-SPW Document 53 Filed 11/17/16 Page 2 of 6

AO 2458 (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page    of
DEFENDANT: Cheryl Lavonn Hilario
CASE NUMBER: CR 15-138-BLG-SPW-02

                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
  60 months.




     Ill The court makes the following recommendations to the Bureau of Prisons:




     D   The defendant is remanded to the custody of the United States Marshal.

     Ill The defendant shall surrender to the United States Marshal for this district:

          D at                                                D p.m.       on

         !i1 as notified by the United States Marshal.

    0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         D before 2 p.m. on
          0   as notified by the United States Marshal.

          0   as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                          to

                                                     with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL
                        Case 1:15-cr-00138-SPW Document 53 Filed 11/17/16 Page 3 of 6

AO 245B (Rev. 10/!5) Judgment in a Criminal Case
                        Sheet 3 -   Supervised Release
                                                                                                           Judgment-Page
DEFENDANT: Cheryl Lavonn Hilario
CASE NUMBER: CR 15-138-BLG-SPW-02
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 4 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, 1fapplicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        lf this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant·s compliance with such notification requirement.
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AO 2458 (Rev, l0/15) Judgment in a Criminal Case
        Sheet 3C ~ Supervised Release
                                                                                            Judgment~Page          of
DEFENDANT: Cheryl Lavonn Hilario
CASE NUMBER: CR 15-138-BLG-SPW-02

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall participate in and complete a program of substance abuse treatment as approved by the United
 States Probation Office, until the defendant is released from the program by the probation officer. The defendant is to pay
 part or all of the cost of this treatment, as directed by the United States Probation Office.

 2. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol consumption only.

 3. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
 365 breathalyzer tests and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant is to pay all or part of the costs of testing as determined by the United States Probation Office.

 4. The defendant shall not ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana and/or
 synthetic stimulants that are not manufactured for human consumption, for the purpose of altering their mental or physical
 state.

 5. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription. This condition supersedes standard condition number 7 with respect to marijuana only.

 6. The defendant shall submit her person, residence, vehicles, and papers, to a search, with or without a warrant by any
 probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
 submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
 subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
 examination.
                        Case 1:15-cr-00138-SPW Document 53 Filed 11/17/16 Page 5 of 6
AO 245B (Rev. l0/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment   Page   ---S-- of
 DEFENDANT: Cheryl Lavonn Hilario
 CASE NUMBER: CR 15-138-BLG-SPW-02
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                                                                    Restitution
 TOTALS             $    100.00                                               $                                   $


 0    The determination of restitution is deferred until                          An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 0    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.




TOTALS                                $                        0.00                   $                    0.00


D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

O      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the         D       fine       D   restitution.

       D    the interest requirement for the        D   fine       0     restitution is modified as follows:

*Findings for the total amount of losses are required under Chapters 109A, 110~ l lOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                       Case 1:15-cr-00138-SPW Document 53 Filed 11/17/16 Page 6 of 6
AO 245B (Rev. 10115) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments

                                                                                                                 Judgment™ Page    ::£       of           g
DEFENDANT: Cheryl Lavonn Hilario
CASE NUMBER: CR 15-138-BLG-SPW-02

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     '2]   Lump sum payment of$             100.00              due immediately, balance due

            D     not later than                                      , or
            D     in accordance          0     C,     0    D,    O     E, or     1;21 F below; or

B     O     Payment to begin immediately (may be combined with                 DC,         D D, or       D F below); or
C     O     Payment in equal                          (e.g., weekly, monthly. quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     O     Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years)~ to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            tenn of supervision; or

E     D     Payment during the tenn of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     IZI   Special instructions regarding the payment of criminal monetary penalties:
             Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
             and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary
             payments shall be made to the Clerk, United States District Court, James F. Battin U.S. Courthouse, 2601 2nd
             Ave North, Ste 1200, Billings, MT 59101.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order:         (1/
                                                        assess1nent, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
